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UNITED STATES DISTRICT COURT FOR NORTHERN DISTRIGERSCye,
OF FLORIDA, TALLAHASSEE DIVISION < D

  

STEVEN D. YOUNG #861067
Plaintiff,

V.

CORIZON, LLC.
WOODROW A. MYERS, JR.
Chief Operating Officer | Official Capacity, Declaratory
Individual Capacity And Injunctive Relief
RHONDA ALMANZA Defendants.
Vice-President of Operations, Region II
Individual Capacity,
HELEN SNEED
Director Of Operations, Region II
Individual Capacity
TERESA WOODALL, Infectious Disease Control, Region II,
Individual Capacity,
42 U.S.C. § 1983 CIVIL RIGHTS COMPLAINT
DECLARATORY AND INJUNCTIVE RELIEF

JURY TRIAL SOUGHT

 

 

ERRON CAMPBELL
Medical Director,
Individual Capacity,
CENTURION OF FLORIDA, LLC., »
JOHN DOE #1-3
Individual Capacity
E. PEREZ—_LUGO
Former, Chief Health Officer UCI
Individual Capacity,
THOMAS REIMERS,
Director Health Services,
Individual Capacity,
DANIEL CHERRY,
Centurion's Former Medical Director FDC.,
Individual Capacity
MICHELLE SCHOUEST, JISC,
Indivadual (eapagity:
SEP 24°18 Pai? 30
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I. PLAINTIFF:

Name of Plaintiff: STEVEN D. YOUNG
Inmate Number #861067

Prison or Jail: Union Correctional Institution
Mailing Address: P. O. Box 1000
Raiford, Florida

32083 —

II. DEFENDANTS:

(1) CORIZON, LLC

Official Position: Former Contract Medical Provider For The FDC
Mailing Address: 12647 Olive Blvd.

St. Louis, Mis. 63141

 

(2) WOODROW A. MYERS, JR. *

Official position: Chief Operating Officer,

Mailing Address: 103 Powell Ct., Brentwood, Tn. 37027
Individual Capacity

(3) RHONDA ALMANZA *

Vice-President of Operations, Region II

Mailing Address: 950 West Elliot, Tempe, AZ. 85284
Individual Capacity

(4) HELEN SNEED *

Official Position: Director Of Operations, Region II

Mailing Address: 2631 N.W. 33” Place, Gainesville, Fla. 32605
Individual Capacity

(5) TERESA WOODAL *

Official Position: Infectious Disease Control

2627 N.W. 43" St. Suite 202 2™ FL., Gainesville, Fla. 32606
Individual Capacity

*These Addresses and job titles were valid for service in 2017 as submitted to the U.S. District
Court, Middle District, Jacksonville Division, Saleem v. Corizon # 3:15-cv-1195-TJC-PDB

(6) CENTURION Of FLORIDA, LLC
Official Position: Current Contract Medical Provider For The FDC
Paddock Park Prof. Bldg. 3200S.W. 34" Ave. Bldg. 700, Suite 701, Ocala, Fla. 34474

(7-10) JOHN DOE #1-3,

Official Position: Employee Centurion Of Florida, LLC.
Mailing Address: not yet identified.

Individual Capacity

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(11) E. PEREZ—LUGO

Official Position: Former Chief Health Officer UCI

Mailing Address: 216 S.E. Corrections Way, Lake City, Fla. 32025-2013
Individual Capacity

(12) MICHELLE SCHOUEST, IISC,

Official Position: Impaired Inmate Services Coordinator
Mailing Address: 501 S. Calhoun St., Tall., Fla. 32399-2500
Individual Capacity

(13) THOMAS REIMERS,

Health Services Director,

Mailing Address: 501 S. Calhoun St., Tall., Fla. 32399-2500
Individual Capacity

(14) DANIEL CHERRY,

Centurion's Former Medical Director FDC

Paddock Park Prof. Bldg. 3200S. W. 34™ Ave. Bldg. 700, Suite 701, Ocala, Fla. 34474
Individual Capacity

(15) ERRON CAMPBELL

Medical Director,

18 Huntleigh Ln., St. Louis Mo. 63131
Individual Capacity

(16) JULIE L. JONES,

Official Position: Secretary, FDC

501 S. Calhoun St., Tall., Fla. 32399-2500
Official Capacity, Declaratory & Injunctive Relief

Il. EXHAUSTION OF ADMINISTRATIVE REMEDIES

Exhaustion of administrative remedies is required prior to pursuing a civil rights action regarding
condition or events in any prison, jail, or detention center. 42 U.S.C.§1997e(a).

Plaintiff is warned that any claims for which the administrative grievance process was not
completed prior to filing this lawsuit may be subject to dismissal. Plaintiff has exhausted all
available administrative grievances. Defendant Jones possesses all grievances filed in this matter.

IV. PREVIOUS LAWSUITS

NOTE FAILURE TO DISCLOSE ALL PRIOR CIVIL CASES MAY RESULT IN THE
DISMISSAL OF THIS CASE. IF YOU ARE UNSURE OF ANY CASES YOU HAVE
FILED, THAT FACT MUST BE DISCLOSED AS WELL.

A. Have you initiated other actions in state court dealing with the same or similar
facts/issues involved in this action?
Yes( ) No( XXX )

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1. Parties to previous action:
(a) Plaintiff(s): N/A
(b) Defendant(s) N/A ;
Name of judge: N/A Case #: N/A
County and judicial circuit: N/A
Appropriate filing date: N/A
If not still pending, date of dismissal: N/A
Reason for dismissal: N/A
Facts and claims of case: N/A
(Attach additional pages as necessary to list state court cases.)
B. Have you initiated other actions in federal court dealing with the same or similar
facts/issues involved in this action?
Yes( XX) No( )
1. Parties to previous action:
(a) Plaintiff(s): Please see pages 4 “A”-““B”
(b) Defendant(s) Please see pages 4 “A” -“B”

NAW YWDN

2. Name of judge: Case #: Please see pages 4 “A” -“B”
3. County and judicial circuit: Middle District, Jacksonville
4. Appropriate filing date: Please see pages 4 “A” -“B”
5. If not still pending, date of dismissal: please see pages 4 “A” -“B”
6. Reason for dismissal: 12 (b) (6) Failure to state a claim
7. Facts and claims of case: refusal to treat Hep “C”, pre 2014 CDC
guideline change.
(Attach additional pages as necessary to list state court cases.) Please see pages 4 “A”
C Have you initiated other actions (besides those listed above in Questions (A) and

(B)) in either state or federal court that relate to the fact or manner of your incarceration
(including habeas corpus petitions) or the conditions of your confinement (including civil rights
complaints about any aspect of prison life, whether it be general circumstances or a particular
episode, and whether it involved excessive force or some other wrong)?
Yes( X) No(_) Please see pages 4”A”
If yes, describe each action in the space provided below. If more than one action,
describe all additional cases on a separate piece of paper, using the same format as
below:
(a) Plaintiff(s): Petitioner Steven D. Young Please see pages 4 “A” -“B”
(b) Defendant(s) Respondent: Secretary, FDC Please see pages 4 “A” -“B”
2. Name of judge: Elizabeth A. Kovachevich Case # Please see pages 4 “A” -“B”
3. County and judicial circuit: U.S. District Court, Tampa Division
Approximate filing date: Please see pages 4 “A” -“B”
If not still pending, date of dismissal: Please see pages 4 “A” -“B”
Reason for dismissal: Please see pages 4”A” -“B”
Facts and claims of case: Unconstitutional conviction 28 USC §2254
Parties to previous action: Please see pages 4 “A” -“B”
Plaintiff(s): Plaintiffs): Petitioner Steven D. Young
Defendant(s) Respondent: Secretary, FDC Please see pages 4 “A” -“B”
2. Name of judge: Elizabeth A. Kovachevich Case # see pages 4 “A” -“B”
3. County and judicial circuit: U.S. District Court, Tampa Division

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CONTINUATION OF PAGE #4 “A”

Have you initiated other actions (besides those listed above in Questions (A) and (B)) in
either state or federal court that relate to the fact or manner of your incarceration (including
habeas corpus petitions) or the conditions of your confinement (including civil rights complaints
about any aspect of prison life, whether it be general circumstances or a particular episode, and
whether it involved excessive force or some other wrong)?

Yes( X ) No( )

1. Parties to previous action: Steven D. Young, Defendant, State Of Florida
(a) Defendant Steven D. Young

(b) State Of Florida #1981-CF-000869

2. Name of judge: can’t recall

3. County and judicial circuit: Manatee, 12" Judicial Circuit

4. Approximate filing date: 1987

5. If not still pending, date of dismissal: Don’t recall

6. Reason for dismissal: Untimely

7 Facts and claims of case: Unconstitutional conviction, state habeas corpus

1. Parties to previous action: Steven D. Young Defendant(s) State Of Florida
(a) Petitioner: Petitioner Steven D. Young

(b) Defendant(s) Respondent: Secretary, FDC

2. Name of judge: Elizabeth A. Kovachevich Case # 8:90-CV-00976-UA
3. County and judicial circuit: U.S. District Court, Tampa Division

4. Approximate filing date: 1990

5. If not still pending, date of dismissal: don’t recall

6. Reason for dismissal: state procedural bar of timeliness

7. Facts and claims of case: Unconstitutional conviction 28 USC §2254

1. Parties to previous action: Steven D. Young, Defendant, State Of Florida
(a) Petitioner Steven D. Young, Defendant

(b) State of Florida

2. Name of judge: Don’t recall

3. County and judicial circuit: Manatee, 12" Judicial Circuit

4. Approximate filing date: 1994

5. If not still pending, date of dismissal: Don’t recall

6. Reason for dismissal: Rule 3.800(a), resentenced

7 Facts and claims of case: illegal sentence

1. Parties to previous action: Steven D. Young, Defendant State Of Florida

(a) Defendant Steven D. Young

(b) State Of Florida

2. Name of judge: Marc B. Gilner

3. County and judicial circuit: Manatee, 12" Judicial Circuit

4. Approximate filing date: 2010

5. If not still pending, date of dismissal: denied 6-20-201, 2"! DCA #2D11-4057
6. Reason for dismissal: untimely, refused to recognize actual innocence

7 Facts and claims of case: Unconstitutional conviction, state habeas corpus.

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CONTINUATION OF PAGE #4 “B”

1. Parties to previous action: Steven D. Young, Petitioner(s), Secretary FDC

(a) Petitioner: Steven D. Young

(b) Respondent: Secretary, FDC

2. Name of judge: Elizabeth A. Kovachevich Case # 8:13-cv-690-T-17TGW

3. County and judicial circuit: U.S. District Court, Tampa Division

4. Approximate filing date: 2013

5 Jf not still pending, date of dismissal: 2013

6. Reason for dismissal: state procedural bar of timeliness, refused to recognize actual innocence
7. Facts and claims of case: actual innocence, Unconstitutional conviction 28 USC §2254

1. Parties to previous action: Plaintiff Steven D. Young,
(a) Plaintiff(s): Steven D. Young

(b) Defendant(s)
2. Name of judge: can’t recall

3. County and judicial circuit: U.S. District Court, Jacksonville.
4. Approximate filing date: 2005

5. If not still pending, date of dismissal: Don’t recall

6. Reason for dismissal :rule 12 b (6)

7 Facts and claims of case: Refusal to treat Hep “C”

 

1. Parties to previous action: Steven D. Young,
(a) Plaintiff(s): Steven D. Young

(b) Defendant(s)
2. Name of judge: can’t recall

3. County and judicial circuit: U.S. District Court, Jacksonville.
4. Approximate filing date: 2008

5. If not still pending, date of dismissal: don’t recall

6. Reason for dismissal :rule 12 b (6)

7 Facts and claims of case: Refusal to provide RDP diet

 

1. Parties to previous action: Steven D. Young, Secretary FDC

(a) Petitioner: Steven D. Young

(b) Respondent Secretary FDC

2. Name of judge: Elizabeth A. Kovachevich

3. County and judicial circuit: U.S. District Court, Tampa, Fla.

4. Approximate filing date: 2017

5. If not still pending, date of dismissal: don’t recall

6. Reason for dismissal : treated as rehearing and denied

7 Facts and claims of case: Refusal to acknowledge actual innocence
Currently on review by the eleventh circuit court of Appeal # 18-12896-A

Plaintiff, a terminally ill prisoner prays that his litigative history not prevent this suit from
progressing. He incorporates the imminent danger exception of the Sworn Complaint and adds

that both his prior civil suits while having been denied, were eventually resolved in favor of the
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claims {but not Young} set forth by Plaintiff. Namely, that injunctive relief was awarded
requiring the Secretary of the FDC to provide RDP diet to eligible offenders. In his other suit, the
Hep C treatment sought by Plaintiff Young was before the FBOP guideline change of 2014,
therefore not the same core facts as this current cause of action. Hepatitis C, FBOP-CDC
changes in 2014 till date, were not in effect during Plaintiffs prior suit for care. The statute of
limitations in this cause is limited to four (4) years.

Both of Young’s prior suits should not be held to prevent IFP as both denials are no
longer equitable. Moreover, the imminent danger exception in this cause is justified.

Plaintiff incorporates by reference the Imminent Danger Exception & Prayer For

Expedited Resolution section of his Complaint, infra.
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Approximate filing date: Please see pages 4 “A” -“B”
If not still pending, date of dismissal: Please see pages 4 “A” -“B”
Reason for dismissal: Please see pages 4 “A” -““B”
Facts and claims of case: Unconstitutional conviction 28 USC §2254
) Defendant(s) Secretary, FDC Please see pages 4 “A” -“B”
Name of judge: Don’t recall Case #: Please see pages 4 “A” -“B”
County and judicial circuit: U.S. District Court, Jacksonville Division
Appropriate filing date: Please see pages 4 “A” -“B”
. If not still pending, date of dismissal: Please see pages 4 “A” -“B”
Reason for dismissal: Please see pages 4 “A” -“B”
Facts and claims of case: Unconstitutional conviction 28 USC§2254
(Attach additional pages as necessary to list state court cases.)
D. Have you ever had any actions in federal court dismissed as frivolous,
malicious, failing to state a claim, or prior to service? If so, identify each
and every case so dismissed: Please see pages 4 “A”
Yes (XX) No( )
1. Parties to previous action: See (B) supra Please see pages 4 “A” -“B”
(a) Plaintiff(s): See above Please see pages 4 “A” -“B”
(b) Defendant(s) See above Please see pages 4 “A” -“B”
2. Name of judge: See above Case #: Please see pages 4 “A” -“B”
3. County and judicial circuit See above Please see pages 4 “A” -“B”
4. Appropriate filing date: See above Please see pages 4 “A” -“B”
5. If not still pending, date of dismissal: See above Please see pages 4 “A” -“B”
6. Reason for dismissal: See above Please see pages 4 “A” -““B”
7. Facts and claims of case: See above Please see pages 4 “A” -“B”
(Additional pages as necessary to list the specific instances.)
Please see attached page 4 “A”-“B”

MAMAS YREANAMSA

IMMINENT DANGER EXCEPTION & PRAYER
FOR EXPEDITED RESOLUTION

Plaintiff young respectfully contends that if his procedural history is inaccurate or found
to constitute “three Strikes” per the PLRA, that the Court consider that Young is dying rapidly as
a direct result of the policy and practice of the Defendants named herein. That such conduct in
relation to Young’s condition warrants exception to the standard norm and as such Young should
be permitted to proceed. CF. Mitchell v. Nobles, 873 F.3d 869 (11" Circuit 2017) Additionally,
Plaintiff prays that this litigation be fast tracked as his death is imminent and not resolving the
case before such would constitute an injustice by permitting those responsible to further profit by
their unconstitutional conduct. Plaintiff swears that he has tried to recall all prior filings, in good

faith. Medical condition has so diminished Plaintiff's memory process, that he is not able.

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OVERVIEW

Plaintiff's now fatal liver disease results from Hepititus “C” condition for which
Defendants would not treat. Both private health care Defendants utilized a simple policy and
practice to deny care first by institutional physician. Then, denial of care was ratified by
Secretary Jones, via IISC positions {Impaired Inmate Services Coordinator}. Such matters as,
lying about availability of care and willful concealment of FBOP evaluation and treatment
guidelines, underline reprehensible conduct by Defendants. Defendants acted on behalf and in
the stead of corporate positions regarding employment with contract health provider. Each of
these Defendants by vestige of their positions, were charged with obligation to prevent the
actions and inactions of these claims. Facts well plead and grievance records produced from
FDC, will clearly flesh out the practice of policy enactment, as Plaintiff was “rubber stamped”
and “boiler plated” just short of death. This denial of care, in favor of profit; results in Plaintiffs
torment and sorrow. Even ameliorative care products are refused Plaintiff. Health care
grievances, {HCGs}, will clearly evince that Plaintiff is not the only critically inflicted elderly
offender, denied critical care. Cost slashing by Defendants Corizon and Centurion for
ameliorative care products is a “regulatory measure” and thusly requires those deprived to access
sick call three times to see physician, whom then informs: “no longer available,” “won’t allow
us.” HCGs regarding this matter are suppressed by Secretary Jones, via IISC positions. Finally,
no dietary considerations exist nor supplements provided for, the skeletal Plaintiff. No slow
eating pass for the near toothless Plaintiff is issued. Plaintiff receives no pain medications.

This Complaint is prepared for Plaintiff, read and discussed by Plaintiff, as results from
limited in-capacitance of Plaintiff. In support of his Motion For Appointment Of Counsel, Quest
For Expedited Resolution, and Imminent Danger Exception, Plaintiff Young incorporates Sworn
Declaration of Daniel R. Lonergan #084131, EXH. #1, {accompanying Motion For Appointment
of Counsel}

V. STATEMENT OF FACTS:

State briefly the FACTS of this case. Describe how each Defendant was involved and what each
person did or did not do which gives rise to your claim. In describing what happened, state the

names of persons involved, dates, and places. Do not make any legal arguments or cite to any
cases or statutes. You must set forth separate factual allegations in separately numbered

paragraphs. You may make copies of this page if necessary to supply all the facts. Barring
extraordinary circumstances, no more than five (5) additional pages should be attached. (if there

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are facts which are not related to this same basic incident or issue, they must be addressed in a
separate civil rights complaint.)

(1) Plaintiff is currently incarcerated at Union Correctional Institution and at all times
relevant hereto was under the care, custody and control of the State of Florida, Department of
Corrections. Plaintiff is currently 70 years of age and has been incarcerated since 1981. Plaintiff
suffers from Hepatitis “C” and the disease has escalated to such a level that Plaintiff now has
severe liver cancer. (ESLD, End Stage Liver Disease) Plaintiff is currently under the care of
Defendant, Centurion Health Services, via Defendant Jones.

(2) Under the June 2014, FBOP Guidelines, adopted by the CDC, patients were
supposed to be prioritized for triple drug therapy based upon the advancement of hepatic fibrosis,
or cirrhosis, whether the patient is a liver transplant recipient or has a HIV co-infection, or
whether the patient has a comorbid medical condition associated with HCV, such as certain types
of lymphomas. The degree of fibrosis may be determined in several ways. The AST-to-platelet
ratio index (“APRI’) is the FBOP-preferred method for non-invasive assessment of hepatic
fibrosis and cirrhosis. Liver biopsies and abdominal ultrasounds in this time period were also
used to identify findings consistent with cirrhosis. Although the APRI score is useful in most
cases, it is not an exact predictor of cirrhosis. Sometimes patients with high APRI scores show
no signs of fibrosis or cirrhosis on ultrasounds or biopsies. In June 2014, the FBOP
recommended prioritizing patients who had APRI scores of 1.0 or greater, or whose APRI score
was between 0.7 and 1.0 along with other findings suggestive of advanced fibrosis. Under these
guidelines, Plaintiff's need for treatment was apparent. Plaintiff was intentionally ignored and
then denied treatment by Defendant Corizon LLC., and Defendants identified infra, per this
mandate. FDC intentionally did not enforce treatment with Defendant Corizon and established
custom of denying all health care grievances {HCGs} by created positions of impaired inmate
services coordinator {IISC}et. al. During this period, one Ebony O. Harvey, repeatedly appears
in FDC, HCG records as IISC establishing “bolier plate” pattern of denials.

(3) In July 2015, the FBOP revised its HCV Guidelines to reflect the availability of new
treatments and established the new standard of care. The FBOP provided that certain cases are at
higher risk for complications or disease progression and require more urgent consideration for
treatment. The patients at Level 1, or highest priority, are those with known decompensated

cirrhosis, liver transplant candidates or recipients, patients with hepatocellular carcinoma, those

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with comorbid medical conditions associated with HCV, those taking immunosuppressant
medications, and newly incarcerated inmates already receiving treatment. Patients at Level 2, or
high priority, include those with APRI scores greater or equal to 2.0, those with advanced
fibrosis on a liver biopsy, those with Hepatitis B coinfection, those with HIV coinfection, and
those with comorbid liver disease. Patients at Level 3, or intermediate priority, include those
with APRI scores between 1.5 and 2.0, those with Stage 2 fibrosis on a liver biopsy, those with
diabetes mellitus, and those with porphyria cutanea tarda. Patients at Level 4, or routine priority,
are those with Stage 0 to stage 1 fibrosis on liver biopsy, and all other cases of HCV infection
that meet the criteria for treatment. Under these guidelines, Plaintiff's need for treatment was
apparent. Plaintiff was intentionally ignored and then denied treatment by Defendant Corizon
LLC., and Defendants identified infra. Each Defendant acted per custom, policy, as plead injra.
(4) In April 2016, the FBOP revised its HCV Guidelines to reflect the availability of three
new treatment drugs. The 2016 Guidelines did not change the way APRI scores are used to
prioritize patients for treatment. Under these guidelines, Plaintiff's need for treatment was
apparent. Plaintiff was intentionally ignored and then denied treatment by Defendant Corizon
LLC., and Defendants identified infra. Each Defendant acted per custom, policy as plead infra.
(5) In August 24, 2016, Defendant Centurion replaced Defendant Corizon as FDC health

 

care provider. Defendant Centurion was aware of the number of HCV affected prisoners and the
policy and custom left in place by Corizon not to evaluate and or treat per the guidelines of J #2-
4, supra. Centurion was aware of the FDC grievance process insulating then Corizon then
Centurion, via FDC Impaired Inmate Services Coordinators {IISC} and other agents yet
identified. Centurion immediately agreed to the “Corizon method” that all HCGs grieving lack of
care, would be summarily, boiler plate denied. Both Corizon and Centurion had complicit
approval by Defendant Jones (FDC) to conceal existence of, and not evaluate or treat per { #2-4.
Moreover, medical code listings for those infected with Hep C and critically ill offenders were
manipulated, by concealing the number of those infected, as well as their/Plaintiff's conditions.
This policy and practice was based upon the cost of the evaluation and treatment regimes and
FDC agreed to the same. This was a factor in the contract price for prison health care which
would have been sizably more, {less profit} had adherence to § #2-4 been required. Indeed,
Corizon quit. The Court may take judicial notice of Copeland v. Jones et al., 4:15-cv-00452-RH-
CAS, “hernia settlement.” Plaintiff incorporates well plead fact of Corizon—FDC—IISC, et. al.,

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utilizing boiler plate HCG denials to deny care. They did so as FDC grievance records reveal
regardless of right to treatment, for profit. This identical sham process and blind eye custom
appears in Plaintiff's HCG’s for care. The custom was so well established that it became a
contract nod agreement. FDC has and continues to do Its part by inter alia, WSC and HSC
positions and concealment of Health Care Bulletin {HCB} detailing care.

(6) From June 2014-August 24, 2016, Plaintiff sought care for the condition of hepatitis
“C” from Corizon, and was refused. The refusal resulted from policy, practice and custom of
Defendants Corizon, by and through Defendants Woodrow A. Myers, Jr., Rhonda Almanza
Helen Sneed, Teresa Woodal, Dr. Campbell and Dr. E. Perez-Lugo. PlaintifPs condition was
evaluated by blood tests and viewed via a 1988 ultra sound of Plaintiffs liver and pancreas.
Plaintiffs medical file is replete with evidence of escalation of Hep “C” and eventual liver
damage. Policy, practice of ignoring and concealing right to treatment existed from the outset.
Defendants Corizon, Woodrow A. Myers, Jr., Rhonda Almanza, Helen Sneed, Teresa Woodal,
Dr. Campbell and Dr. E. Perez-Lugo, employed agreed upon policy defying inter alia, | 2-4
supra. These Defendants knew the policy defied duty owed Plaintiff and all other FDC infected
prisoners. These Defendants knew Plaintiff and all other infected prisoners would not be treated.
Nonetheless, at the time of the June 2014, FBOP-CDC guideline treatment change, these
Defendants acting under color of state law, had in effect an agreement that infected
inmates/Plaintiff would not be informed of the existence of DAAs, and _ infected
prisoners/Plaintiff would not be treated. This agreement was in furtherance of Corizon policy of
cost cutting. FDC, HCG records demonstrate that Plaintiff and thousands of other infected
prisoners, were not by policy employed by these Defendants for Corizon afforded evaluation and
treatment per 2-4, supra. Plaintiff's and thousands of HCGs seeking evaluation and treatment,
were routinely denied by FDC agent, E. O. Harvey, then IISC. The boiler plate denials were part
and parcel of Corizon--FDC overall policy scheme to avoid expense of treatment. Although by
June 2014, Petitioner’s liver had been damaged by previous refusal to treat, application of { 2-4,
supra, would have been successful. The unconstitutional conduct continued until Corizon was

relieved as FDC health care provider in August 24, 2016. The above named Defendants are

 

directly responsible for this conduct up and until Centurion replaced Defendant Corizon as health

 

care provider. Each Defendant knew the gravity of the policy and custom of non-treatment, yet

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chose by policy of their making, not to inform Plaintiff/infected inmates, of availability of care
and not to provide Plaintiff treatment.

(7) Post August 24, 2016, when Defendant Centurion took over, Plaintiff was not
informed of the availability of DAA drugs (the cure), the FBOP 2016 change in CDC guidelines,
regarding standards of care of § #2-4, supra, nor that the DAA cure existed. At that time,
Plaintiff's medical file evinces, Plaintiff's overall medical condition was not untreatable. Indeed,
at Plaintiffs sham “chronic clinic” appointments, no mention was made by Centurion agents,
including Defendant Dr. E. Perez-Lugo, of existence of the cure or Plaintiff's candidacy.

(8) Throughout the past four years, Plaintiff has received care that amounts to deliberate
indifference, defying the requirements of { #2-4, supra, including but not limited to: no pain
medications, no vitamins, no dietary supplements and very little if any medications to care for
the sundry assortment of health complications resulting from the liver disease. Because of
Defendants policy of no care, Plaintiff has suffered and continues to suffer great pain and is
rapidly reaching the end of his life. Plaintiff, as FDC grievance records reveal, has been denied
even OTC vitamins such as B12, B6 and C. No dietary considerations are afforded Young such
as Ensure drinks or supplements. Plaintiff's once ability to consume scheduled meals in the chow
hall is diminished as a result of severe abdominal pain and swelling. He is skeletal. He
regurgitates routinely.

(9) Plaintiff requested care by the cure, when he heard of the Hoffer v. Jones injunction,
from Defendant Centurion and was refused per policy and custom by Defendant Perez-Lugo,
John Doe #1-3, Michelle Schouest, IISC, Thomas Reimers, FDC Director of Health Services,
and Julie L. Jones. Plaintiff was not provided the Cure by Defendant Centurion post April 2016,
FBOP -CDC guideline change, due to policy agreed to by the above Defendants not to inform of
the existence of DAA’s and not to provide DAA’s due to cost. Plaintiff grieved the denial
utilizing the two stage grievance procedure and above named Defendants denied relief, stating
that Plaintiff may access sick call if he wished to have his soon to be fatal condition monitored.
Defendants Centurion, Jones, Thomas Reimers, Michelle Schouest, IISC, E.O Harvey, former
IISC, as well as the “sound clinicians” currently Defendants John Doe #1-3, knew that the
FBOP--CDC guideline change of 2014-2016, mandated that Plaintiff receive evaluation and
DAA’s {the Cure}, and other designated care. Plaintiff's HCG records, as well as thousands of

then eligible for evaluation and treatment, per { 2-4, supra, were denied pursuant to policy and

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practice of profit, a non-medical reason, via “boiler plate’ one liners. FDC and Centurion by and
through Defendants E. Perez-Lugo, John Doe #1-3, Michelle Schouest, USC, Thomas Reimers,
FDC Director of Health Services, and Julie L. Jones, adopted policy of boiler plate denials for
HCGs regarding evaluation and care for HCV. This “we'll work together” custom of no
evaluation, and cure for infected prisoners/Plaintiff, is revealed by number and content of denied
HCGs, possessed by Defendant Jones.

(10) With the exception of 100 milligrams of Neurontin, three times a day, Plaintiff
receives no pain medication of significance. Defendants knew that "it is undisputed that
Neurontin has not been approved by the FDA for the treatment of neuropathic pain. Indeed,
published medical studies showed that it was no more effective than a placebo for neuropathic
pain." Ross v. Corizon LLC, 2016 U.S. Dist. LEXIS 79184 (U. S. D. C. M. D. FLA. 2016) citing
Monteleone v. Corizon, No. 5:14cv65-WS, 2015 U.S. Dist. LEXIS 40356, 2015 WL 1458283, at
*14 (N.D. Fla. Mar. 27, 2015) The only other “pain relief’ medication prescribed Plaintiff as his
liver swells and kidneys begin to fail is ibuprofen, which is ineffective and causes repeated
stomach upset.

(11) Plaintiff requested of Defendants Centurion and Jones to be able to review the
Health Services Bulletin {HSB} which governs the mandated care per Hoffer v. Jones and was
refused. This custom of FDC, Corizon and Centurion of not permitting prisoners to read HSB’s
governing care, is intentional and unconstitutional. Plaintiff grieved the matter utilizing the two
stage grievance procedure and was denied relief. In doing so, Defendants FDC and Centurion, by
and through Defendant E. Perez-Lugo then CHO at UCI, and Michelle Schouest, IISC,
intentionally deprived Plaintiff of his right to know, per FS. 381.026, 0261 and did such with ill
will, spite and animus, in furtherance of the orchestrated plan not to treat Plaintiff. Defendants
actions, inactions, policy and custom, will result in Plaintiffs death and has caused needless pain
and suffering.

(12) In denying Plaintiff #5 supra, Defendant Centurion stated in part that “sound
clinicians” determined that no treatment would be provided. Plaintiff grieved inter alia, wanting
to know per the Patient’s Bill of Rights, FS. 381.026, 0261, to whom these “sound clinicians”
are. Defendant Centurion by Dr. E. Perez Lugo, refused to name these persons and Michelle

Schouest, IISC, upheld the denial per the policy and custom not to treat. Thusly, theses persons

 

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are now John Does #1-3, in this litigation. Michelle Schouest, IISC, {Impaired Inmate Services
Coordinator}, is, like John Does #1-3, sued in her individual capacities.

(13) At all times hereto, each Defendant named herein by employing policy of
deprivation of care for serious medical need, has acted under the color of state law. The policy
equates to ill will, hatred, spite and hard heartedness. Plaintiff was not informed of life saving
DAA’s, nor advised that he could be recommended for a liver transplant. Moreover, Defendants
refusal to provide pain relief to Plaintiff, as well as ameliorative medications from Plaintiff's E S
L D and spinal disorder, result from policy, practice and custom of “so what sue me” causing

| Plaintiff great physical and mental pain and anguish. This conduct is direct result of policy of
Defendant in furtherance of profit. HCG records possessed by Secretary Jones evince clear
pattern of deprivation of implementation of {| #2-4, supra, and evince ill will, spite and animus
by enforcement of the no evaluation and treatment policy.

(14) FDC records reveal that Plaintiff Young has begged for care and ameliorative
treatment, including pain medications, only to receive “boiler plate” denials. FDC, via Defendant

Jones knew that contracts for Corizon and then Centurion would permit both HCPs to “buck” the

 

costs for treatment of those infected/Plaintiff, and the FDC would be forced to defend. Centurion
“took its chances” upon accepting FDC contract when Corizon quit, relying on ongoing scheme
of successfully not treating. Indeed, Defendants Corizon and Centurion prevailed in this scheme
until Hoffer v. Jones,. This is so even though 8 Amendment right to life saving medical care
was clearly established, death imminent.

(15) Plaintiff Young pleads that his physical condition in total constitutes a serious
medical need as defined by the Eleventh Circuit Court of Appeals and his treatment grossly
violates societal standards. Young incorporates by reference the imminent danger section of this
Complaint. ESDL is fatal. Intentional neglect by Defendants of Plaintiff Young demonstrates
cruel and unusual punishment that will soon result in Plaintiff's death. Plaintiffs pain and
suffering is on going.

VI. STATEMENT OF CLAIMS:

State what rights under the Constitution, laws, or treaties of the United States you claim
have been violated. Be specific. Number each separate claim and relate it to the facts
alleged in Section V. If claims are not related to the same basic incident or issue, they
must be addressed in a separate civil rights complaint.

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CORIZON LLC

WOODROW A. MYERS, JR. Chief Operating Officer, ,
RHONDA ALMANZA Vice-President of Operations, Region I
HELEN SNEED, Director Of Operations, Region II

TERESA WOODAL Infectious Disease Control, Region II,
ERRON CAMPBELL, Medical Director,

E, PEREZ-LUGO, Former, Chief Health Officer UCI

 

(16) CORIZON HEALTH SERVICES, Inc,
Plaintiff incorporates by reference paragraphs # 1-6, 8, 11, 13-15 supra and states, This

Defendant in Its official capacity pledged competent health care for Florida prisoners upon
contract with Defendant Jones, FDC, State of Florida. This Defendant understood that statutory
obligation of care existed via special obligation of Defendant Jones, per FS. 20.315 (3). In so
contracting, Defendant pledged to provide care within accepted medical norms and not to
deprive needy prisoners of critical care because of cost. This for profit Defendant, chose to
disregard obligation to provide critical care for serious medical needs of Plaintiff, via policy,
practice and custom, employed by the above named Defendants. The motivating force was not to
spend money, thusly increasing profits. This Defendant rewarded each Defendant ({ 16-21) with
salary raises, bonuses and other incentives upon profit increases, resulting from denial of care.
Defendant Corizon’s denial of care for serious medical need of infected Plaintiff prisoner,
became policy and custom of operation, unimpeded and ratified in furtherance Defendant

Secretary Jones, IISC positions. Defendant Corizon by and through theses named Defendants,

 

defied the 2014, st. 21; FBOP--CDC guideline treatment change and did not inform Plaintiff
Young of the existence and availability of DAA’s. When Young sought treatment for the HCV,
he was denied by Defendant E. Perez Lugo, agent of Defendant Corizon, and Defendants Teresa

 

Woodal, Helen Sneed, Rhonda Almanza, and Woodrow A. Myers, Jr., via policy, practice and
custom of not providing care for Hep C condition, for profit. Corizon’s decision not to inform
Young of the FBOP--CDC, 2014-2016, guideline treatment change and not to provide the cure of
DAAs, was deliberate, a policy, practice and custom to save money. As a direct result of this
conduct, Plaintiff Young was denied the opportunity to elect the cure by DAAs and to receive
the same. The result of this conduct has caused Plaintiff Young’s liver to deteriorate by the
advancement of the HCV, which could have been prevented after the 2014, FBOP--CDC
guideline treatment changes of  2-4,.supra. Corizon consistently refused to provide Plaintiff

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pain medications to help relieve the pain resulting from their cruel conduct. Corizon’s conduct
violates Plaintiff's 8" Amendment guarantee to be free of cruel and unusual punishment. The
Policy, practice and custom is evinced by boiler plate denials of HCGs resulting from FDC
ratification in furtherance of overall objective to save money. Thousands of HCGs in possession
of FDC demonstrate enactment of the policy and practice, increasing profits for Defendant
Corizon. These Defendants acted under the color of state law regardless of human rights and
indifferent to societal standards preventing cruel conduct. Acting in concert with Defendants
named herein and yet to be identified, this Defendant permitted, ratified and encouraged the
conduct resulting in no care for Plaintiff, as part and parcel of the orchestrated effort to profit.
This Defendant did so in an individual capacity with won ton indifference to the deaths and
misery caused by implementation of the no evaluation-no treatment policy and custom. This
conduct has caused Plaintiff physical pain and suffering and violates Plaintiff's 8" Amendment
guarantee. Plaintiffs failing liver is a direct result of this Defendants actions acting in

furtherance of the scheme to profit.

(17) WOODROW A. MYERS, JR., Chief Operating Officer

Plaintiff incorporates by reference paragraphs # 1-6, 8, 11, 13-15 supra, and states: This
Defendant in official position capacity, as regards expenditures on evaluation and treatment of
HCV infected prisoners/Plaintiff, was required per direct oversight management responsibility,
to insure implementation by Defendant Rhonda Almanza, Vice-President of Operations, Region
II, to require Defendant Helen Sneed to ensure approve and ensure sufficient funds for
evaluation and treatment required by {| 2-4, supra, FBOP evaluation and treatment guidelines.
This Defendant while so employed, acting in individual capacity, required Helen Sneed to ignore
substantive care requirement, in favor of costs; thereby acting in policy and practice of
Defendant Corizon. This denial of standard of care was agreed to and ratified by the actions and
inactions of Defendant Jones, IISC positions and others yet named. Acting in concert with
Defendants named herein and yet to be identified, this Defendant permitted, ratified and
encouraged the conduct resulting in no care for Plaintiff, to profit. This Defendant did so in his
individual capacity with won ton indifference to the deaths and misery caused by implementation
of the no evaluation-no treatment policy and custom. This conduct has caused Plaintiff physical
pain and suffering and violates Plaintiff's 8" Amendment guarantee. Plaintiffs failing liver is a

direct result of this Defendants actions acting in furtherance of the scheme to profit.

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(18) RHONDA ALMANZA, Vice-President of Operations, Region II

 

Plaintiff incorporates by reference paragraphs # 1-6, 8, 11, 13-15 supra, and states: This

Defendant in official position capacity and agent for Corizon, acted in conjunction with directive

 

of Defendant Woodrow A. Myers, Jr., as regards infected prisoners/Plaintiff, did direct Helen
Sneed not to implement of FBOP--2014 ; a evaluation and treatment guidelines. This
Defendant while so employed required Helen Sneed to ignore substantive care requirement, in
favor of costs; as per policy and practice of Defendants Woodrow A. Myers, Jr., Chief Operating

Officer, thereby acting in policy and practice of Defendant Corizon. This denial of standard of

 

care was agreed to and ratified by the actions and inactions of Defendant Jones, IISC positions
and others yet named. Acting in concert with Defendants named herein and yet to be identified;
this Defendant permitted, ratified and encouraged the conduct resulting in no care for Plaintiff, to
profit. This Defendant did so in his individual capacity with won ton indifference to the deaths
and misery caused by implementation of the no evaluation-no treatment policy and custom. This
conduct has caused Plaintiff physical pain and suffering and violates Plaintiff's 8" Amendment
guarantee. Plaintiffs failing liver is a direct result of this Defendants actions acting in
furtherance of the scheme to profit.

(19) HELEN SNEED Director Of Operations, Region II

Plaintiff incorporates by reference paragraphs # 1-6, 8, 11, 13-15 supra, and states: This
Defendant in official position capacity, as regards prisoners such as Plaintiff that are infected
with Hep “C” virus, was required to insure that funds were allocated for implementation of 2014
fet. aj, FBOP guideliens. This Defendant had obligation of supervision of Teresa _Woodal
Infectious Disease Control position, to account for number of infected prisoners as sell as
accounting for funds expended in adherence with FBOP fet. al}, evaluation and treatment
guidelines. This Defendant while so employed ignored substantive care requirement, in favor of

profit; as per policy and practice of Defendants Rhonda Almanza, Vice-President of Operations,

 

Region II, per direction of Woodrow A. Myers, Jr., Chief Operating Officer, in furtherance of

 

policy, practice and custom of profit for Defendant Corizon and others yet named. Acting in
concert with Defendants named herein and yet to be identified, this Defendant permitted, ratified
and encouraged the conduct, resulting in no care for Plaintiff as part and parcel of the
orchestrated effort to profit. This denial of standard of care was agreed to and ratified by the

actions and inactions of Defendant Jones, through IISC positions and others yet named This

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conduct has caused Plaintiff physical pain and suffering and violates Plaintiff's 8" Amendment
guarantee. Plaintiff's failing liver is a direct result of this Defendants actions acting in

furtherance of the scheme to profit.

(20) TERESA WOODAL, Infectious Disease Control

Plaintiff incorporates by reference paragraphs # 1-6, 8, 11, 13-15 supra, and states: This
Defendant was responsible in official position capacity, as regards those prisoners such as
Plaintiff, that are infected with Hep “C” virus. This Defendant has direct obligation per
Infectious Disease Control position, to adhere to FBOP evaluation and treatment guidelines. This
Defendant while so employed, acting in individual capacity, ignored substantive care
requirement, in favor of costs; as per policy and practice of Defendants Woodrow A. Myers, Jr.,
Chief Operating Officer, Rhonda Almanza, Vice-President of Operations, Region II, Helen
Sneed, Director Of Operations, Region II. This denial of standard of care was agreed to and
ratified by the actions and inactions of Defendant Jones, IISC positions. Acting in concert with
Defendants named herein and yet to be identified, this Defendant permitted, ratified and
encouraged the conduct resulting in no care for Plaintiff as part and parcel of the orchestrated
effort to profit. This Defendant did so in his individual capacity with won ton indifference to the
deaths and misery caused by implementation of the no evaluation-no treatment policy and
custom. This conduct has caused Plaintiff physical pain and suffering and violates Plaintiffs 8"
Amendment guarantee. Plaintiffs failing liver is a direct result of this Defendants actions acting

in furtherance of the scheme to profit.
(21) ERRON CAMPBELL Medical Director

Plaintiff incorporates by reference paragraphs # 1-6, 8, 11, 13-15 supra, and states: This
Defendant was charged by position of over-all health services to inter alia, prisoners’ infected
with the virus, in his individual capacity. Defendant Erron. Campbell, did act in agreement to
prevent evaluation and treatment of infected prisoners/Plaintiff, per policy and practice of
Corizon, as directed and implemented by Defendants Woodrow A. Myers, Jr. Chief Operating
Officer, Rhonda Almanza Vice-President of Operations, Region II, Helen Sneed., Director Of

 

Operations, Region II, and did so knowing that Teresa Woodal Infectious Disease Control,
Region II, would be in agreement not to implement § 2-4, supra, The moving force behind this
policy, practice was to cut costs by not spending money on evaluation and treatment. Defendant

Corizon rewarded each Defendant with pay incentives and other profit sharing bonuses resulting

 

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from the policy and practice. Acting in concert with Defendants named herein and yet to be
identified, this Defendant permitted, ratified and encouraged the conduct resulting in no care for
Plaintiff as part and parcel of the orchestrated effort to profit. This Defendant did so in his
individual capacity with won ton indifference to the deaths and misery caused by implementation
of the no evaluation-no treatment policy and custom. This conduct has caused Plaintiff physical
pain and suffering and violates Plaintiff's 8" Amendment guarantee. Plaintiff's failing liver is a

direct result of this Defendants actions acting in furtherance of the scheme to profit.

CENTURION OF FLORIDA, LLC
THOMAS REIMERS, Director Health Services

DANIEL CHERRY, Centurion's Former Medical Director FDC
Individual Capacity

JOHN DOE #1-3, Individual Capacity

MICHELLE SCHOUEST, IISC, Impaired Inmate Services Coordinator,
E. PEREZ-LUGO, Former, Chief Health Officer UCI

 

 

(22) CENTURION OF FLORIDA, LLC

Plaintiff incorporates by reference paragraphs # 1-15, supra, and states: This Defendant
in its official capacity pledged competent health care for Florida prisoners upon contract with
Defendant Jones, FDC, State of Florida. This Defendant understood the special need for care
resulting from Defendant Corizon’s deprivation of care for profit gouging. Defendant Centurion
understood the statutory obligation of care of Defendant Jones, per FS. 20.315 (3). In so
contracting, Defendant pledged to provide care within accepted medical norms. This for profit
Defendant chose to disregard obligation to provide critical care for serious medical needs of
Plaintiff, via policy, practice and custom employed by Defendants infra.. The motivating force
was not to spend money, thusly increasing profits. This Defendant rewarded each Defendant ({
24-) with salary raises, bonuses and other incentives upon profit increases resulting from denial
of care. Defendant Centurion’s denial of care for serious medical need of infected Plaintiff
prisoners, became policy and custom of operation, unimpeded and ratified in furtherance by and

through Defendant Secretary Jones, IISC positions. Plaintiff incorporates by reference § #1-11,

 

and #16-21 supra, and states: Defendant Centurion by and through theses named Defendants,
defied the 2014,;4. a1; FBOP--CDC guideline treatment change and did not inform Plaintiff
Young of the existence and availability of DAA’s. When Young sought treatment for the HCV,

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he was denied by Defendant E. Perez-Lugo, agent of Defendant Centurion, and Defendants John
Doe #1-3, via policy, practice and custom of refusing care for Hep C condition due to cost.
Decision not to inform Young of the FBOP--CDC, 2014-2016, guideline treatment change and
not to provide the cure of DAAs, was deliberate, a policy, practice and custom to save money.
As a direct result of this conduct, Plaintiff Young was denied the opportunity to elect the cure by
DAAs and to receive the same. The result of this conduct has caused Plaintiff Young’s liver to
deteriorate by the advancement of the HCV, which could have been cured after the 2014, FBOP-
-CDC guideline treatment change. Centurion consistently refused to provide Plaintiff due care as
mandated by the FBOP-CDC change. Plaintiff is not provided pain medications of substance to
relieve the pain resulting from their cruel conduct. Centurion’s conduct violates Plaintiffs gm
Amendment guarantee to be free of cruel and unusual punishment. The Policy, practice and
custom is evinced by boiler plate denials of HCGs resulting from FDC ratification in furtherance
of overall objective to save money. Thousands of HCGs in possession of FDC demonstrate
enactment of the policy and practice, increasing profits for Defendant Centurion. These
Defendants acted under the color of state law regardless of human rights and indifferent to
societal standards preventing cruel conduct. Acting in concert with Defendants named herein and
yet to be identified, this Defendant permitted, ratified and encouraged the conduct resulting in no
care for Plaintiff as part and parcel of the orchestrated effort to profit. This Defendant did so in
his individual capacity with won ton indifference to the deaths and misery caused by
implementation of the no evaluation-no treatment policy and custom. This conduct has caused
Plaintiff physical pain and suffering and violates Plaintiffs 8" Amendment guarantee. Plaintiff's
failing liver is a direct result of this Defendants actions acting in furtherance of the scheme to
profit.
(23) THOMAS REIMERS, Director Health Services

Plaintiff incorporates by reference paragraphs # 1-15, supra, and states: This Defendant
was charged by position to direct over-all health services to inter alia, prisoners’ infected with
the virus. This Defendant did act in agreement to prevent evaluation and treatment of infected

prisoners/Plaintiff, per policy and practice of Centurion, as directed and implemented by

 

Defendants John Does #1-3. Each Defendant was in agreement not to implement { 2-4, supra,
FBOP 214 sq aj, evaluation and treatment guidelines. This Defendant, acting in individual

capacity, required suppression of numbers of infected prisoners and required John Doe #1-3

 

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Michelle Schouest, IISC, Impaired Inmate Services Coordinator, E. Perez-Lugo, Former, Chief
Health Officer UCI, to comply with the policy and practice of suppression of existence of FBOP
evaluation and treatment and to deny care. The moving force behind this policy, practice was to
cut costs by not spending money on evaluation and treatment. Defendant Centurion rewarded
each Defendant with pay incentives and other profit sharing bonuses resulting from the policy
and practice. This Defendant knew of the 2014-2016 FBOP-CDC guideline changes mandating
care for Plaintiff and denied care. This Defendant utilized his position as Director Health
Services to employ policy and custom of Corizon and Centurion to disregard content of § 2-4,
supra, resulting in no evaluation and care. This custom was approved by Defendant Jones and
employed the boiler plate HCG denial pattern to deny care. As Director Health Services this
Defendant had an obligation to ensure that the protocol of § 2-4, supra, be followed. Instead,
"acting in concert with Defendants named herein and yet to be identified, this Defendant
permitted, ratified and encouraged the conduct resulting in no care for Plaintiff as part and parcel
of the orchestrated efforts to save money. This Defendant did so in his individual capacity with
won ton indifference to the deaths and misery caused by implementation of the no evaluation-no
treatment policy and custom. This conduct violates Plaintiff's 8" Amendment guarantee, has
caused Plaintiff physical pain and suffering. Plaintiff's failing liver is a direct result of this

Defendants actions acting in furtherance of the scheme to profit.
(24) DANIEL CHERRY, Centurion's Former Medical Director, FDC

Plaintiff incorporates by reference paragraphs # 1-15, supra, and states: This Defendant
was charged by position to direct over-all health services to inter alia, prisoners’ infected with
the virus. This Defendant did act in agreement to prevent evaluation and treatment of infected

prisoners/Plaintiff, per policy and practice of Centurion, as directed and implemented by

 

Defendants John Does #1-3. Each Defendant was in agreement not to implement § 2-4, supra,
FBOP 214 je aj, evaluation and treatment guidelines. This Defendant, acting in individual

capacity, required suppression of numbers of infected prisoners and required John Doe #1-3

 

Michelle Schouest, IISC, Impaired Inmate Services Coordinator, E. Perez-Lugo, Former, Chief
Health Officer UCI, to comply with the policy and practice of suppression of existence of FBOP
evaluation and treatment and to deny care. The moving force behind this policy, practice was to
cut costs by not spending money on evaluation and treatment. Defendant Centurion rewarded

each Defendant with pay incentives and other profit sharing bonuses resulting from the policy

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and practice. This Defendant knew of the 2014-2016 FBOP-CDC guideline changes mandating
care for Plaintiff and denied care. This Defendant utilized his position as Director Health
Services to employ policy and custom of Corizon and Centurion to disregard content of 2-4,
supra, resulting in no evaluation and care. This custom was approved by Defendant Jones and
employed the boiler plate HCG denial pattern to deny care. As Director Health Services this
Defendant had an obligation to ensure that the protocol of § 2-4, supra, be followed. Instead,
acting in concert with Defendants named herein and yet to be identified, this Defendant
permitted, ratified and encouraged the conduct resulting in no care for Plaintiff as part and parcel
of the orchestrated efforts to save money. This Defendant did so in his individual capacity with
won ton indifference to the deaths and misery caused by implementation of the no evaluation-no
treatment policy and custom. This conduct violates Plaintiffs 8" Amendment guarantee, has
caused Plaintiff physical pain and suffering. Plaintiffs failing liver is a direct result of this
Defendants actions acting in furtherance of the scheme to profit.

(25) JOHN DOE 1-3

Plaintiff incorporates by reference paragraphs # 1-15, supra, and states: These
Defendants determined that Plaintiff would not be provided the DAA cure and in doing so
ratified the decision not to treat Plaintiff made by their codefendant, E. Perez-Lugo, then CHO of
UCI. These Defendants defied mandates of {| # 2-4, supra, and did so with ill will and spite and
hid their identities per agreement with Defendant E. Perez-Lugo and in furtherance of Centurion
policy and practice not to treat. The decision was made out of ill will and animus, in order to
save Defendant Centurion money. Defendant E. Perez-Lugo refused to identify theses “sound
clinicians” in order to insulate their identity, to save Centurion money. Defendant, Michelle

Schouest, IISC, agent of Defendant Jones, approved of both the decision not to provide DAA

 

cure to Plaintiff and not to identify these “sound clinicians.” Defendants Doe #1-3, refused to
provide Plaintiff the DAA cure to save Centurion money. This Defendant did so in his individual
capacity with won ton indifference to the deaths and misery caused by implementation of the no
~ evaluation-no treatment policy and custom. This conduct violates Plaintiffs 8" Amendment
guarantee, has caused Plaintiff physical pain and suffering. Plaintiffs failing liver is a direct
result of this Defendant’s actions acting in furtherance of the scheme to profit This conduct has

resulted in deterioration of Plaintiff's liver resulting in ESLD. Plaintiff has suffered and

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continues to suffer from the end result of Defendant’s conduct. This conduct violates Plaintiffs
8" Amendment guarantee to be free of cruel and unusual punishment.
(26) MICHELLE SCHOUEST, Impaired Inmate Services Coordinator, IISC

Plaintiff incorporates by reference paragraphs # 1-15, supra, and states: This Defendant
determined that Plaintiff would not be provided the DAA cure, vitamins and evaluation for liver
transplant and in doing so, ratified the decision not to treat Plaintiff made by codefendants, E.
Perez-Lugo, former CHO of UCI, and John Does #1-3, acting per Centurion policy to deny
evaluation and treatment. This Defendant denied the HCGs based not upon medical reasons, but

in furtherance of policy and custom of Corizon and Centurion as established via agreement with

 

Secretary Jones, Erron Campbell and Thomas Reimers. This Plaintiff knew of the 2014-2016
FBOP-CDC guideline changes of § 2-4, mandating care for Plaintiff and intentionally
disregarded the same as-per FDC-Corizon and Centurion agreement. In fulfilling this role, this
Defendant acted with ill will, spite and animus in an individual capacity, under the color of state
law and the conduct violates the 8" Amendment.

(27) E. PEREZ--LUGO, Former UCI CHO

Plaintiff incorporates by reference paragraphs # 1-15, supra, and states: This Defendant
while employed by both Corizon and Centurion at UCI, intentionally did not advise Plaintiff of
the 2014-2016 BFP- CDC treatment guideline change, nor the existence of DAA’s to cure his
HCV. Defendant Perez Lugo denied Plaintiff: the DAA cure, meaningful pain relief, and
personally denied institutional HCG in furtherance of Corizon and Centurion policy to save
money, resulting in denial of evaluation for care, and cure by DAAs and to be recommended for
liver transplant. Defendant Perez-Lugo never mentioned the possibility of recommendation for a
liver transplant. This Defendant lied to Plaintiff's face when informing Plaintiff in 2015 that no
medical help existed to prevent further spread of the virus and to save Plaintiff's life. Defendant
Michelle Schouest, IISC, and agents yet to be shown, advanced and employed this policy,
practice and custom for Defendant Jones by boiler plate denial of HCGs, extinguishing life
saving treatment and humane ameliorative care. Defendant E. Perez-Lugo’s actions while

employed by Corizon, were ratified by Defendants Teresa_Woodal, Helen Sneed, Rhonda

 

Almanza, and Woodrow A. Myers, Jr., per their policy and custom in furtherance of profit.
While employed by Centurion, E. Perez-Lugo’s actions were ratified by Defendants Michelle

Schouest, IISC, Thomas Reimers, Erron Campbell, and Julie L. Jones, per policy, custom in

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furtherance of profit. This Defendant’s conduct in both his official and individual capacities,
while employed by both Corizon and Centurion, whom ratified his actions via policy not to
inform Plaintiff and to not provide treatment and to deny all HCG’s for care, has resulted in
deterioration of Plaintiff's liver resulting in ESLD. Plaintiff has suffered and continues to suffer
from the result of this Defendant’s conduct. In fulfilling this role, this Defendant acted with ill
will, spite and animus in an individual capacity, under the color of state law and the conduct

violates the 8" Amendment guarantee to be free of cruel and unusual punishment.

(28) JULIE L. JONES, Secretary, FDC, Official Capacity, Injunctive /
Declaratory Relief

Ms. Jones as Secretary of the FDC, is directly responsible for Plaintiff's health care and
could not abrogate that responsibility as established by FS.20.315 (3), by contracting the same to

Corizon and or Centurion. Ms. Jones knew or should have known that the CDC. changed
treatment guidelines for HCV in 2014-2106, requiring both Defendants Corizon and Centurion to

 

comply with updated mandate to evaluate and treat. Ms. Jones knew that Defendant Michelle

Schouest, IISC, and other designees to be shown, acted in furtherance of plan, scheme and policy

 

of Defendants Corizon and Centurion to “boiler plate” denials of health care grievances (HCG)
in defiance to FBOP evaluation and treatment guidelines, including DAA’s due to cost. Ms.
Jones knew Defendants Corizon and Centurion, E. Perez-Lugo and Michelle Schouest, IISC,
refused to inform Plaintiff of the FBOP-CDC treatment guideline change. Defendant Jones,
FDC, deliberately concealed the existence and availability of DAA’s and content of | #2-4,
supra, and did so with ill will, spite and no concern for humane treatment. Defendant Jones did
this in furtherance of profit for both Defendants Corizon and Centurion as Secretary Jones knew
that if demand for mandated evaluation and care was asserted, Corizon and Centurion would
back out and cancel their contracts or demand more money not then available. Ms Jones knew of
the conflict in contracts between Corizon and Centurion regarding costs to implement the
evaluation and treatment protocol of ¢ #2-4, supra. Ms. Jones was aware that both for profit
companies had agreement with FDC, a policy and practice, to routinely deny health care
grievances (HCG’s) in furtherance of profit. This conduct violates Plaintiffs 8“ Amendment

guarantee to be free of cruel and unusual punishment.

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VII. RELIEF REQUESTED:

State briefly what relief you seek from the Court. Do not make legal arguments or cite
cases/statutes.

COMPENSATORY DAMAGES
Corizon and Centurion
Plaintiff seeks compensatory damages in the amount of One million dollars from each

Defendants Corizon and Centurion.

 

Plaintiff seeks compensatory damages in the amount of $500,000 from Defendants:
Woodrow A. Myers, Jr., Rhonda Almanza, Helen Sneed, Teresa Woodal, John Doe #1-3, E.

Perez-Lugo, Michelle Schouest, Erron Campbell and Thomas Reimers.

PUNITIVE DAMAGES

Plaintiff seeks punitive damages in the amount of $500,000 from each Defendant in their
individual capacity; Defendants Woodrow A. Myers, Jr., Rhonda Almanza, Helen Sneed, Teresa
Woodal, John Doe #1-3, E. Perez-Lugo_, Michelle Schouest, Erron Campbell and Thomas
Reimers, Daniel Cherry. In doing so, Plaintiff states in sum that punitive damages are
appropriate where the actions and inactions of these Defendants are reprehensible, in that the
Defendants knew that their policy and practice as plead herein would result in plaintiffs pain
and suffering then excruciatingly painful death. That each defendants conduct was motivated by
evil intent, or it involved reckless or callous indifference to the federally protected rights of
Plaintiff—his serious medical need, the suffering caused by policy and practice of Defendants
and now his eventual death. That each Defendant participated and ratified the policy of
deprivation in furtherance of common scheme not to inform or treat—for profit. These actions
and inactions were orchestrated and designed and ratified into policy and practice by theses
defendants and are cruel and have caused unnecessary and wanton infliction of pain. This
intentional for profit policy and custom not to inform and to deny treatment constitute deliberate
indifference to serious medical needs of Plaintiff and constitutes the unnecessary and wanton

infliction of pain.

INJUNCTIVE AND DECLARATORY RELIEF

Julie L. Jones Plaintiff seeks injunctive relief for treatment, ameliorative care including
pain medications, {all to be determined} and hereby incorporates his motion for preliminary

injunction submitted herewith.

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As for declaratory relief of Secretary Jones, Plaintiff prays that order enter finding that
FDC acted in concert with both Corizon and Centurion not to advise prisoners of the 2014-2016
FBOP-CDC guideline change and in doing so, ultimately denied Plaintiff mandated evaluation
and care. That FDC has policy and custom of refusing prisoners to review HSB governing care
and in this fashion, concealed from Plaintiff the 2014-2016 FBOP-CDC guideline change. That
FDC according to HCG records, utilized created sham positions of inter alia HSC, to sign off in
boiler plate fashion, denying serious medical need, without regard for humane treatment. That
FDC acted in concert with both Corizon and Centurion to deny the HCGs in furtherance of profit
and without regard to humane, mandated care. That the conduct of each Defendant herein
individually and collectively has violated Plaintiff's 8" Amendment guarantees to be free from
cruel and unusual punishment.
Prevailing party fees and costs.

I declare under penalty of perjury that J have read the above and have had it explained to

me by Daniel R. Lonergan #084131 and that the foregoing statements of fact, including all
continuation pages, are true and correct. Dated this ~ fo leyn fp 018

  

 

P. O. Box 1000
Raiford, Fla. 32083

Mailing Certificate
I certify under penalty of perjury that this complaint was provided to UCI Correctional

Staff for mailing in envelope addressed to Office of the Honorable Clerk, United States District
Court at United States Courthouse 111 N. Adams St. Tallahassee, FL 32301-7730 |

on: the S2p "day of weceuber 2018. py) \ Beye

STEVEN D. YOUNG34861067 |

 

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